                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION


CHRISTOPHER A. LYNCH,

       Plaintiff,

v.                                            Civil Action No. 7:14-CV-24 (HL)

SHARON LEWIS, M.D. and BILLY
NICHOLS, M.D.,

       Defendants.



                                    ORDER

       This case is before the Court on a Recommendation from United States

Magistrate Judge Thomas Q. Langstaff (Doc. 11), entered March 24, 2014.

Following a preliminary screening pursuant to 28 U.S.C. § 1915A(a), Judge

Langstaff recommends dismissal of Plaintiff’s equal protection claims (Count VII),

state law claims (Count IV), and “Declaration of Human Rights” claims (Count V)

for failure to state a claim.

       On April 7, 2014, Plaintiff filed her Objection to Magistrate’s Order on

Motions and Objection to Case Caption (Doc. 17). These objections appear to

address the Magistrate’s March 24, 2014 Order pertaining to various relief

requested by Plaintiff (Doc. 12) and not to the Report and Recommendation

(Doc. 11). Plaintiff did not file objections to the rulings set forth in the

Recommendation.
      The Court reviewed the Recommendation and finds no clear error in the

Magistrate Judge’s decision. Accordingly, the Court accepts and adopts the

Recommendation. Plaintiff’s equal protection claims, state law claims, and

“Declaration of Human Rights” claims are dismissed. Plaintiff may proceed with

her Eighth Amendment claims (Counts I, II, III, and VI).

      SO ORDERED, this 7th day of May, 2014.



                                s/ Hugh Lawson______________
                                HUGH LAWSON, SENIOR JUDGE



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